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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                             5:22-CR-50073-KES

                    Plaintiff,

       vs.                                       ORDER DENYING MOTION TO
                                                         RECUSE
ANTHONY WARD,

                    Defendant.


      Defendant, Anthony Ward, moves this court to recuse itself. Docket 339.

Ward alleges that during his trial and sentencing the court displayed prejudice

against him and as a result he has been deprived due process. Id.

      Under 28 U.S.C. § 144, a party may seek recusal of a judge by filing a

legally sufficient affidavit that demonstrates a personal bias or prejudice of the

judge. United States v. Faul, 748 F.2d 1204, 1210 (8th Cir. 1984). “An affidavit

must strictly comply with all of the statutory requirements before it will

effectively disqualify a judge.” United States v. Anderson, 433 F.2d 856, 859

(8th Cir. 1970). The alleged bias or prejudice “must stem from an extrajudicial

source and result in an opinion on the merits on some basis other than what

the judge learned from his participation in the case.” Faul, 748 F.2d at 1211

(quoting United States v. Grinnell Corp., 384 U.S. 563, 583 (1966)).

      Even assuming Ward’s affidavit meets the legal definition of an affidavit,

it is factually insufficient. First, Ward claims the court erred allowing certain
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evidence into his trial. Docket 340 at 1. But “a court's ruling on a question of

law,” such as the admissibly of evidence, “does not show the personal bias

required for disqualification.” Anderson, 433 F.2d at 860. Second, Ward alleges

the court’s facial expressions and demeanor both prejudiced the jury against

him and also indicated racist feelings. Docket 340 at 1-2. These accusations

are conclusory and without any factual support. See Alexander v. Medtronic,

Inc., 2012 WL 3724052, at *3 (W.D. Mo. Aug. 27, 2012) (stating that in order to

succeed on a personal bias claim, the defendant must allege specific facts, not

mere conclusions or generalities). Moreover, “[t]he court’s demeanor and

rulings in earlier phases of the same case . . .do not provide a basis for

disqualification.” Anderson, 433 F.2d at 860.

      Ward also indicates recusal is necessary under 28 U.S.C. § 455(a), which

requires a judge to “disqualify [her]self in any proceeding in which [her]

impartiality might reasonably be questioned.” This section requires

disqualification “if a reasonable person who knew the circumstances would

question the judge’s impartiality, even though no actual bias or prejudice has

been shown.” Fletcher v. Conoco Pipe Line Co., 323 F.3d 661, 664 (8th Cir.

2003) (citation omitted). “A party introducing a motion to recuse carries a

heavy burden of proof; a judge is presumed to be impartial and the party

seeking disqualification bears the substantial burden of proving otherwise.”

Fletcher, 323 F.3d at 664 (citation omitted).

      As the Eighth Circuit has held, “[t]he recusal statute does not provide a

vehicle for parties to shop among judges. . . [or] require recusal every time a
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judge commits a procedural error or departs from protocol in some way.” Little

Rock Sch. Dist. v. Pulaski Cnty. Special Sch. Dist. No. 1, 839 F.2d 1296, 1302

(8th Cir. 1988). In short, the question “is not whether the trial judge committed

errors, but whether these errors create a reasonable inference that the Court

has lost its impartiality. This question must be answered ‘ . . . in light of the

full record, not simply in light of an isolated incident.’ ” Id. (quoting In re

Federal Skywalk Cases, 680 F.2d 1175, 1184 (8th Cir. 1982).

      Applying the foregoing principles here, the court finds that Ward has not

met his burden to demonstrate recusal is appropriate. Ward’s claims are brief,

generalized, and offer no insight as to how the court’s statements and alleged

errors impact the court’s ability to remain unbiased. Even if the court did

commit an alleged error, that error alone is not sufficient to show the type of

prejudice or bias that warrants recusal. These alleged errors are best addressed

on appeal. Thus, it is

      ORDERED that plaintiff’s motion (Docket 339) is DENIED.

      DATED May 24, 2024.

                                        BY THE COURT:


                                        /s/ Karen E. Schreier
                                        KAREN E. SCHREIER
                                        UNITED STATES DISTRICT JUDGE
